                     Case 1:21-cr-00563-JDB                    Document 5               Filed 04/08/21         Page 1 of 1

AD 442 (Rev. 11111) Arrest Warrant




                                          UNITED STATES DISTRICT COURT
                                                                          for the

                                                               District of Columbia

                   United States of America
                                  v.
                                                                            ~ Case: 1~21-mj-00356 .
             VICTORIA CHARITY WHITE                                         ) Assigned To: Farrt.Jqui. Zie M,
                                                                            ) Assign. Date ~417/2021
                                                                            ) Description: COMP'LAINT WI ARREST WARRANT
                                                                            )
                             Defendant


                                                            ARREST WARRANT
To:      Any authorized      law enforcement      officer


         YOU ARE COMMANDED                    to arrest and bring before a United States magistrate judge without unnecessary                    delay
(name of person to be arrested)                                      VICTORIA CHARITY WHITE
who is accused of an offense or violation based on the following document                 filed with the court:

o Indictment         0 Superseding Indictment    0 Information       0 Superseding Information                                N Complaint
o Probation Violation Petition     0 Supervised Release Violation Petition    o Violation Notice                                 0 Order of the Court

This offense is briefly described as follows:

 18 U.S.C. § 1752(a)(I) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
 18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
 40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds;
 40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building;
 18 U.S.C. § 231(a)(3) - Impeding or Attempting to Impede Law Enforcement Officers Performing Official Duties;
 18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress.                                .OS                      2021.04.07 15:31 :31
Date:          04/07/2021
                                                                                          p~                       -04'00'
                                                                                                   Issuing officer's signature


City and state:                      Washington   D.C.                                   Zia M. Fam ui U.S. Magistrate Judge
                                                                                                     Printed name and title


                                                                      Return

           This warrant was received on (date)           y I 3: I 2...\         , and the person was arrested on (date)           L/ I '81 'LJ
at (city and state)   tt:o be~k
                          C-          &
                                          I
                                              M. hJ

Date:   If}{ CO [2,. \                                                                            Arresting officer's signature


                                                                                    =--W'l.,'{i\ \A) h.:~h: ~\ - ~~ t. IlL ( Ajut..1-
                                                                                                     Printed name and title
